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10                                    UNITED STATES DISTRICT COURT

11                                 NORTHERN DISTRICT OF CALIFORNIA

12                                        SAN FRANCISCO DIVISION

13
     UNITED STATES OF AMERICA,                        ) CASE NO. 20-CR-00249 RS
14                                                    )
             Plaintiff,                               )
15                                                    ) [PROPOSED] EXCLUDING TIME
        v.                                            )
16                                                    )
     ROWLAND MARCUS ANDRADE,                          )
17                                                    )
             Defendant.                               )
18                                                    )

19

20           This matter came before the Court for a status conference on October 12, 2021. As noted by the
21 parties, the government is preparing to produce voluminous discovery to the defense. Pursuant to the

22 parties’ proposal, this Court set a further status conference on December 14, 2021, at 2:30pm. By that

23 point, newly appointed defense counsel will have had the opportunity to review some of the discovery

24 and will be able to discuss a schedule for this matter going forward.

25           As discussed at the hearing, the Court orders that time be excluded under the Speedy Trial Act
26 from October 12, 2021, through December 14, 2021. Defense counsel was recently appointed to

27 represent the defendant in this matter, and his team requires additional time to review the discovery and

28 effectively prepare for trial, taking into account due diligence. The Court further finds that the ends of

     [PROPOSED] ORDER                                 1
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 1 justice served by excluding the time from October 12, 2021 to December 14, 2021 from computation

 2 under the Speedy Trial Act outweigh the best interests of the public and the defendant in a speedy trial.

 3 Therefore, and with the consent of the parties, IT IS HEREBY ORDERED that the time from October

 4 12, 2021 through December 14, 2021 shall be excluded from computation under the Speedy Trial Act.

 5 18 U.S.C. § 3161(h)(7)(A), (B)(iv).

 6

 7 DATED:
                                                         HONORABLE RICHARD SEEBORG
 8                                                       United States District Judge

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     [PROPOSED] ORDER                                2
     CASE NO. 20-CR-00249 RS
